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                      10   STEARNS, CONRAD AND SCHMIDT, CONSULTING
                      11   ENGINEERS, INC. D/B/A SCS ENERGY
                                               UNITED STATES DISTRICT COURT
                      12
                                              CENTRAL DISTRICT OF CALIFORNIA
                      13
                           ISM INDUSTRIES, INC.,                  Case No. 2:19-cv-01134-JAK-JC
                      14
                                         Plaintiff,
                      15                                          DEFENDANT STEARNS, CONRAD
                               vs.                                AND SCHMIDT, CONSULTING
                      16   STEARNS, CONRAD AND                    ENGINEERS, INC. D/B/A SCS
                           SCHMIDT, CONSULTING
                      17   ENGINEERS, INC. D/B/A SCS              ENERGY’S COUNTERCLAIM TO
                           ENERGY, MITCHELL ENERGY                PLAINTIFF ISM INDUSTRIES,
                      18   SERVICES, LLC, AND KILGORE             INC.’S COMPLAINT
                           INDUSTRIAL CIVIL, L.L.C.,
                      19
                                         Defendants.              Hon. John A. Kronstadt
                      20
                           STEARNS, CONRAD AND
                      21   SCHMIDT, CONSULTING
                           ENGINEERS, INC. D/B/A SCS              Trial Date:       None Set
                      22   ENERGY, MITCHELL ENERGY
                           SERVICES, LLC, AND KILGORE
                      23   INDUSTRIAL CIVIL, L.L.C.,
                      24               Counterclaimants,
                               vs.
                      25
                           ISM INDUSTRIES, INC.,
                      26
                                      Counter-Defendant.
                      27
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M ANATT , P HELPS &
  P HILLIPS , LLP
                              STEARNS, CONRAD AND SCHMIDT, CONSULTING ENGINEERS, INC. D/B/A SCS ENERGY’S
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                       1         Defendant and Counterclaimant Stearns, Conrad and Schmidt, Consulting
                       2   Engineers, Inc., d/b/a/ SCS Energy (“SCS”) files this Counterclaim in response to
                       3   the Complaint filed by Plaintiff and Counter-Defendant ISM Industries Inc.
                       4   (“ISM”) as follows:
                       5                                    COUNTERCLAIM
                       6         Stearns, Conrad and Schmidt, Consulting Engineers, Inc. d/b/a SCS Energy
                       7   states the following counterclaim against ISM Industries, Inc.:
                       8                             JURISDICTION AND VENUE
                       9         1.      This Court has supplemental jurisdiction over Defendant and
                      10   Counterclaimant’s state law counter claim for relief pursuant to 28 U.S.C. §
                      11   1367(a).
                      12         2.      Venue is proper in this judicial district pursuant to 28 U.S.C. §
                      13   1391(b)(1), as Defendant and Counterclaimant’s principal place of business is
                      14   located in Long Beach, California.
                      15                                         PARTIES
                      16         3.      Plaintiff and Counter-Defendant ISM Industries, Inc. (“ISM”) is a
                      17   Texas corporation with its principal place of business in Vidor, Orange County,
                      18   Texas.
                      19         4.      Defendant and Counterclaimant Stearns, Conrad and Schmidt,
                      20   Consulting Engineers, Inc. d/b/a SCS Energy (“SCS”) is a Virginia corporation
                      21   with its principal place of business in Long Beach, California.
                      22                                STATEMENT OF FACTS
                      23   A.    SCS Contracted to Build a Biomethane Facility
                      24         5.      In April 2016, the University of California (“UC”) entered into a
                      25   turnkey contract (the “Prime Contract”) with SCS for SCS to design and build a
                      26   biomethane facility at the Woolworth Road Landfill in Shreveport, Louisiana (the
                      27   “Project”).
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                       1           6.    The Project consists of two sites: a gas processing plant (“GPP”) and a
                       2   gas compression plant (“GCP”).
                       3           7.    In September 2017, SCS issued “Service Purchase Order 06-
                       4   SO00030” (the “Subcontract”) to ISM as a principal subcontractor to (1) construct
                       5   the GPP, including civil, structural, mechanical, insulation, access road
                       6   maintenance, and painting, and (2) perform rigging and setting of the compressor at
                       7   the GCP.
                       8   B.      ISM Agreed to Substantially Complete Its Work by February 11, 2018
                       9           for $1,709,872.
                      10           8.    SCS relied on ISM’s experience and representations regarding its
                      11   estimating and scheduling capabilities in agreeing to award the Subcontract to ISM.
                      12   Pursuant to the Subcontract, ISM agreed to substantially complete all of its work on
                      13   the GPP and GCP on or before February 11, 2018 for the defined lump sum price of
                      14   $1,709,872. ISM owed a duty to, among other things, (1) promptly and efficiently
                      15   complete the work; (2) proceed with the work in a prompt and diligent manner in
                      16   accordance with SCS’s schedule; and (3) satisfy itself as to the meaning and
                      17   intention of the plans, technical specifications, and other documents related to the
                      18   work.
                      19           9.    Before awarding the Subcontract and in connection with the bidding
                      20   process, SCS provided ISM with a detailed bid package containing isometric
                      21   drawings (overall facility), civil drawings, mechanical drawings (piping plans with
                      22   details), process drawings (PFD & P&ID), and GPP isometric drawings. The
                      23   documents provided to ISM during the bidding process are consistent with industry
                      24   standard.
                      25           10.   Not until on or about October 24, 2018 did SCS learn that ISM relied
                      26   only on the isometric drawings and ignored the mechanical drawings and process
                      27   drawings to formulate its bid. ISM’s reliance on only the isometric drawings to
                      28   formulate its bid is inconsistent with industry practice. Further, ISM’s failure to
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                       1   follow industry practice led ISM to inaccurately bid the Project to only later request
                       2   exorbitant additional amounts from SCS through change orders. Specifically, with
                       3   an original contract amount of $1,709,872, ISM submitted change orders totaling
                       4   $1,395,310.78.
                       5   C.      ISM’s Poor Performance Resulted in Significant Inexcusable Delay and
                       6           Cost Overruns
                       7           11.    ISM’s productivity on the Project was poor.
                       8           12.    ISM also failed to properly staff the work notwithstanding its
                       9   representations to SCS that it would increase personnel and provide a proper crew
                      10   mix.
                      11           13.    The turnover rate of ISM’s key personnel, including Project
                      12   superintendents, resulted in a loss of continuity of management of the Project and
                      13   further inefficiencies.
                      14           14.    ISM failed to perform its work in accordance with industry standard
                      15   requiring significant rework and repair.
                      16           15.    As a result of ISM’s poor workmanship, poor productivity, and delay,
                      17   SCS incurred significant additional costs on the Project.
                      18           16.    Among other things, SCS incurred additional direct and indirect costs
                      19   as a result of ISM’s inefficiency and delay including, without limitation, additional
                      20   trailer and equipment rental costs, and additional supervision.
                      21   D.      ISM Abandoned the Project Before Completing Its Work
                      22           17.    In June 2018, ISM left the Project site.
                      23           18.    In July 2018, SCS began to compile a punchlist of work remaining to
                      24   be performed by ISM. SCS discussed the punchlist with ISM on several occasions.
                      25   SCS sent ISM a final punchlist on or about October 11, 2018. On or about January
                      26   22, 2019, SCS notified ISM that it had failed to perform punchlist work and other
                      27   work that was within ISM’s scope of work, and thus, paid for by SCS as part of the
                      28   lump sum amount paid to ISM. SCS gave ISM until February 15, 2019 to complete
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                       1   the punchlist work or SCS would self-perform or have others perform it.
                       2            19.    Notwithstanding this notice, ISM failed to return to the site and failed
                       3   to finish its work.
                       4            20.    As a result of ISM’s failure to complete the work, SCS has been forced
                       5   to perform some the remaining work and will need to hire replacement contractors
                       6   to perform other portions of the remaining work. This resulted in additional costs
                       7   and delay, currently estimated to exceed $90,000.
                       8   E.       ISM Failed to Pay Its Subcontractors in Breach of the Subcontract
                       9            21.    ISM contracted with several subcontractors in connection with its
                      10   work on the Project.
                      11            22.    ISM failed to pay certain subcontractors on the Project.
                      12            23.    ISM’s failure to pay its subcontractors caused certain subcontractors to
                      13   (i.) file statements of claim and privilege pursuant to the Louisiana Private Works
                      14   Act, and/or (ii.) to make claims against SCS’s surety bond on the Project.
                      15            24.    The Subcontract mandates that ISM timely pay its subcontractors and
                      16   keep the Project free of any liens and encumbrances.
                      17            25.    ISM’s failure pay its subcontractors and failure to keep the Project free
                      18   of liens and encumbrances are events of default under the Subcontract.
                      19   F.       SCS Is Entitled to Recover Damages Caused by ISM
                      20            26.    The following categories of damages have been incurred and are
                      21   continuing to be incurred as a result of ISM’s failure to perform its obligations:
                      22
                                          Category of Damages                           Estimated Amount
                      23             Delay Costs                                                  $510,000
                      24             Incomplete Work (including punchlist                          $90,000
                                     work)
                      25             Amounts Paid to ISM’s Vendors                                 $120,000
                      26             Attorney’s Fees                                       To be determined
                      27   /////
                      28   /////
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                       1                                          COUNT I
                       2                       BREACH OF CONTRACT AGAINST ISM
                       3         27.      SCS incorporates paragraphs 1 through 26 as if fully stated herein.
                       4         28.      The Subcontract is a valid, enforceable contract. ISM materially
                       5   breached the Subcontract and caused SCS to incur damages as a result of ISM’s
                       6   breach of its obligations. Among other things, ISM inexcusably delayed completion
                       7   of the Project and failed to complete the work pursuant to the Subcontract.
                       8         29.      ISM further materially breached the Subcontract by failing to timely
                       9   pay its subcontractors and failing to keep the Project free of any liens and
                      10   encumbrances.
                      11         30.      At all relevant times, SCS performed its obligations under the
                      12   Subcontract.
                      13         31.      SCS has been damaged, and will continue to incur damages, as a result
                      14   of ISM’s breach in an amount to be proven at trial, currently estimated in excess of
                      15   $720,000.
                      16                                  PRAYER FOR RELIEF
                      17         WHEREFORE, Defendant and Counterclaimant Stearns, Conrad and
                      18   Schmidt, Consulting Engineers, Inc. d/b/a SCS Energy respectfully requests that:
                      19         1.       Judgment be entered in favor of SCS and against ISM on all counts of
                      20   ISM’s Complaint;
                      21         2.       Judgment be entered in favor of SCS and against ISM for breach of
                      22   contract in an amount to be proven at trial, but which is believed to exceed
                      23   $720,000;
                      24         3.       That SCS be awarded attorney’s fees;
                      25         4.       That all costs of this action be taxed against ISM; and
                      26         5.       For such other and further relief as this Court may deem just and
                      27   proper.
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                       1
                           Dated: March 7, 2019                    MANATT, PHELPS & PHILLIPS, LLP
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                       3
                                                                   By: /s/ Craig J. de Recat
                       4                                                 Craig J. de Recat
                       5                                                Attorneys for Defendant and
                                                                        Counterclaimant
                       6                                                STEARNS, CONRAD AND
                                                                        SCHMIDT, CONSULTING
                       7                                                ENGINEERS, INC. D/B/A SCS
                                                                        ENERGY
                       8
                                                                   JONES WALKER LLP
                       9                                           Christopher D. Cazenave
                      10
                                                                   By: /s/ Christopher D. Cazenave
                      11                                                 Christopher D. Cazenave
                      12                                                 Pro Hac Vice
                                                                        Attorneys for Defendant and
                      13                                                Counterclaimant
                                                                        STEARNS, CONRAD AND
                      14                                                SCHMIDT, CONSULTING
                                                                        ENGINEERS, INC. D/B/A SCS
                      15                                                ENERGY
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                       1                        PROOF OF SERVICE OF DOCUMENT
                       2
                       3   I am over the age of 18 and not a party to this case. My business address is 11355
                       4   West Olympic Boulevard Los Angeles, California 90064-1614.
                       5
                           A true and correct copy of the foregoing document described as DEFENDANT
                       6
                           AND COUNTERCLAIMANT STEARNS, CONRAD AND SCHMIDT,
                       7
                           CONSULTING ENGINEERS, INC. D/B/A SCS ENERGY’S
                       8
                           COUNTERCLAIM TO PLAINTIFF ISM INDUSTRIES, INC.’S
                       9
                           COMPLAINT was served in the manner indicated below:
                      10
                      11   I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC
                      12   FILING – Pursuant to controlling General Order(s), the foregoing document will
                      13   be served by the court via the CM/ECF docket for this case and determined that the
                      14   following(ing) person(s) are on the Electronic Mail Notice List to receive
                      15   transmission at the email addresses indicated below:
                      16
                      17   STEVEN M. BURTON Email: steve@txconstructionlaw.com
                      18   BRIAN KEITH CARROLL Email: brian@txconstructionlaw.com
                      19   CHRISTOPHER D. CAZENAVE Email: ccazenave@joneswalker.com
                      20   JAMES A. MORRIS, JR. Email: jmorris@jamlawyers.com
                      21   JAMES E. WIMBERLEY Email: jim@jwimberley.com
                      22   STUART C. YOES Email: scy@yoeslawfirm.com
                      23
                      24   I declare under penalty of perjury under the laws of the United States of America
                           that the foregoing is true and correct.
                      25
                      26
                           March 7 , 2019      Craig J. de Recat         /s/ Craig J. de Recat
                      27
                           Date                Type Name                 Signature
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